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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

ALEJANDRO L. VAZQUEZ,                       §
     Plaintiff,                             §
                                            §
vs.                                         §
                                            §             CASE NO. __________
UNIVERSITY OF TEXAS HEALTH                  §
SCIENCE CENTER and DAVID F.                 §
JOHNSON,                                    §
     Defendants.                            §


                         DEFENDANTS’ INDEX OF FILINGS


1.     4/10/23   Plaintiff’s Original Petition
2.     5/22/23   Plaintiff’s Request for citations issued
3.     5/22/23   Citation Issued to Defendant David F. Johnson
4.     5/22/23   Citation Issued to Defendant University of Texas Health Science Center
5.     6/26/23   Defendant’s Original Answer
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                                           Respectfully submitted.

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                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was served on all counsel of record on June
30, 2023, via the court’s electronic filing system.
                                                     /s/ Kirstin M. Erickson
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